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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


  Commodity Futures Trading       Commission, i
                                                         )
                               Plaintiff,                )    Case No. 1g    CM407
                                                         )
                        v.                               )    ECF Case
                                                         )
 ROYAL METALS GROUP, LLC                  and            )
 CHELSEA GLESS,
                                                         i
                                                         )
                               Defendant.                )
                                                         )
                                                         )



    {PRE*ES'EEI FINAL JUDGMENT BY DEFAULT, PERMANENT INJUNCTIO\
    CIVIL MONETARY PENALTIES, AND OTHER SiATUTORY
                                                  AND EQUITABLE
                                RELIEF
        This matter is before the court upon Plaintiff commodity
                                                                 Futures Trading Commission,s
 ("commission" or "Plaintiff'or "GFTC")
                                        Motion for Default Judgment, permanent Injunction,
 civil Monetary Penalties and other statutory     and Equitable   Relief (..Motion,,) pursuant to Rule
55(bX2) of the Federal Rules of   civil   Procedure ("Fed. R.civ. p.,,) and Rule 55.2(b)
                                                                                         of the Local
Rules of the united States District courts
                                           for the Southem and Eastern Districts of New       york
("Local Rules").

       on September 14,2018, the commission filed a complaint
                                                              charging Defendants Royal
Metals Group, LLC (RMG") and Chelsea
                                     Gless (,,Gless,,) (collectively, ..Defendants,,)
                                                                                      with
violating Section 6(c)(l) of the commodity
                                           Exchange Act (..Act,,), 7 u.s.c. 9(l) (2012),
                                                                           $             and
commission Reguration ("Reguration") lg0.r(a),
                                                l7 c.F.R. g lg0.l(a) (20rg) (the,,complaint,,
or "Compl.") (ECF No.   l).
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             On October 27,2018, the summons and Complaint were properly served on RMG in

   Iowa, pursuant to Fed. R. Civ. P. 4(hXlXA), by personal delivery to RMG's registered agent,

   John T. Clark and proof of such service of RMG was filed on Novemb er 29,2018., (ECF No.

   le).

             On October 27,2018, the summons and Complaint were properly served on
                                                                                   Gless

   pursuant to Fed' R' Civ. P. a(e)(2)(A) by personal delivery
                                                               to Gless and proof of such service      of
   Gless was filed on November 29,2019.(ECF No. 20).

          Defendants have failed to appear, answer or otherwise move
                                                                     with respect to the
  complaint within the time permitted by Fed. R. civ. p. l2(a)(l)
                                                                  and RMG has never appeared by

 attorney representative and the Clerk of court entered defaults
                                                                 against Defendants on November

 30,2018. (ECF Nos. 27 -28).

          The Commission has moved this Court to grant final judgment
                                                                      by default against
 Defendants' order permanent injunctive relief,
                                                and impose restitution and civil monetary penalty.

          The court has carefully considered the complaint,
                                                            the allegations of which are well-
 pleaded and hereby taken as true, the commission's
                                                    memorandum in support of its Motion, the

 record in this case including the commission's
                                                declarations and exhibits, and the court being

otherwise advised in the premises, pursuant
                                            to Fed. R.   civ. p. 55(bx2) and Local Rule 55.2(b), it
is hereby:

          ORDERED AND ADJUDGED that the Plaintiff
                                                             s   Motion against Defendants is
GRANTED' Accordingly, the Court         enters findings of fact, conclusions of law,
                                                                                     and an order   of
Final Judgment by Default for Permanent Injunction,
                                                        civil Monetary penalties,   and other



rlowa
      code $ 4s9'l l6 (2010) states that a "limited
                                                    liability company's or foreign limited liability
company's registeredagent is the company's
                                               agent for service of pio".rr, ,"ri;;;; demand
required or permitted by law to be served
                                           on th; company.,,
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 Statutory and Equitable Relief ("Order") pursuant to Sections 6c and 6d of the Act, 7 U.S.C.
                                                                                                    $

 l3a-l   (2012), as set forth herein.

                  I.        FINDINGS OF FACT AND CONCLUSIONS OF LAW

A.        Findings of Fact

          The Parties

           l. Plaintiff   Commodity Futures Trading Commission is an independent federal

 regulatory agency that is charged by Congress with administering and enforcing
                                                                                the Act,

 7 U'S'C. $$    l-26   (2012), and the Regulations promulgated thereunder,   l7 C.F.R. prs. l-190
 (2018). (Compl.1l l3).

          2. Defendant RMG is an Iowa limited liability company ("LLc,,),which
                                                                               was registered
 as an   LLC in 2009 with its last known place of business in Iowa. RMG has
                                                                            never been

 registered with the Commission in any capacity. (Compl.
                                                         1l l4).

          3' Defendant     Gless is a member, manager and part owner of RMG. Gless's
                                                                                     last known
 address is in Iowa. She has never been registered with
                                                        the commission in any capacity.

(Compl.lT ls).

         Background

          4' RMG' a purported precious metals dealer, offered clients and/or
                                                                             financial advisors
acting on behalf of clients ("clients") the opportunity
                                                        to purchase precious metals and/or to sell

their precious metals to RMG for an agreed upon price.
                                                       (Compl. ll l6).

         5'   RMG maintained a website, royalmetalsgroup.com ("RMG
                                                                   website',), which stated
that RMG bought and sold physical gold and silver.
                                                   The RMG website informed clients that

the "coir/bullion we offer for sale are commodities
                                                    traded on various markets, and that the

market price and availability of such types of coin/bullion
                                                            change constantly with supply and
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 demand. We set the coin/bullion sale price for all coin/bullion that we offer for sale." (Compl.

 nrT.
         6.    In order to induce Clients to invest with RMG, the RMG Website touted and

 misrepresented RMG as "the industry Gold standard for compliant precious metal purchases.

 Buying precious metals from other online dealers that do not employ our patent-pending

 distribution model may put your purchase of physical precious metals at risk." It also touted to

 provide a "safe and secure online environment to make precious metal investments that benefit

 ourClients." (Compl. fl l8).

         7.   RMG's Website also offered Clients the opportunity to contact RMG's ,,1600+

 contracted registered advisors in over 30 states" to assist Clients in the purchase
                                                                                     or sale   of
precious metals with    RMG' The RMG Website              requested that anyone who wants to become a

RMG Advisor should call RMG. (Compl.               l9).
                                              tT

        8.    RMG's Website further stated that RMG "was formed by Trusted Financial

Advisors and insurance agents who were driven to meet their client's need
                                                                          for a stable portfolio
in these turbulent economic times. Royal Metals Group assists
                                                              agents and clients through every

step of the investment and acquisition process. We have dedicated
                                                                  ourselves to this mission.,,

The RMG Website also stated that "we believe that precious metals
                                                                  should be a part of every

client's portfolio. We believe that as much as 20Yo to 40o/o of every
                                                                      client's portfolio should be

in hard assets to provide protection from market loss, inflation, and
                                                                      a fluctuating curren cy . . . .,,

(Compl. 1T20).

        9'    On October 20,2009,RMG filed its Certificate of Organization
                                                                           in the State of lowa.
(Compl. 1l2r).
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         10. In order to perpetrate this scheme, RMG maintained bank accounts in at least three

  separate financial institutions in the name of RMG ("RMG Bank Accounts"). One of the RMG

  Bank Accounts was located and maintained in New York County and Clients were directed to

  and did wire their funds into this New York RMG Bank Account. Gless had signatory
                                                                                    authority

  on all of the RMG Bank Accounts. (Compl.\Z2).

         I   l.   Documents signed by Gless which have been filed with one of the RMG
                                                                                      Bank
  Accounts list Gless as a member and manager of RMG and having a 4il%oownership
                                                                                 interest in
  RMG. (Compl. 123).

        Defendants' Fraudulent Scheme in Violation of 7 U.S.C. 9(t)
                                                              $     and t7 C.F.R. g
        r80.1(a)

                   Summary of Scheme

         l2' From at least March    2016 to present (the "Relevant Period"), Defendants
                                                                                        defrauded
 clients in connection with precious metals transactions. Defendants
                                                                     defrauded at least eight
 clients and fraudulently obtained more than
                                             $617,000 from these clients and these clients

 suffered losses totaling $584,549.84   .   (compl.   fl l; Declaration of Alben weintstein. Exhibit
 r).

        l3' Defendants and/or agents acting on behalf of Defendants (,,Defendants,
                                                                                          Agents,,)
communicated with clients and represented
                                          to clients that RMG would sell and deliver
precious metals to clients and/or purchase
                                           precious metals from clients for an agreed upon

price' Defendants knew these representations
                                             to Clients were false and/ormade them with

reckless disregard for their truth, and instead
                                                of delivering the precious metals and/orpaying

clients as represented, Defendants misappropriated
                                                   their clients' funds and metals. (compl.
                                                                                            fl
2\.
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         14. During the Relevant Period, Defendants fraudulently obtained funds from at least

 four of these eight Clients after Defendants and/or Defendants' Agents represented to these

 Clients that they   will deliver precious metals in return for their funds. Defendants failed to

 deliver all of the precious metals as represented and instead only made a small delivery of coins

 and returned a small portion of their funds causing these four Clients to suffer losses in excess

 of $402,000. (Compl. fl 3).

         15. During the Relevant Period, Defendants also fraudulently obtained precious metals,

 including gold and silver, from at least four of these eight Clients after Defendants and/or

 Defendants' Agents represented to these Clients that they would be paid in     full for their
 precious metals. Defendants instead kept the Clients' precious metals
                                                                       and only returned a small

 amount of funds to one of these Clients causing these four Clients to suffer losses
                                                                                     in excess      of
 $181,000. (Compl. fl 4).

        16. In order to perpetuate and/or conceal this scheme, Defendants made false

representations to Clients regarding invalid delivery tracking numbers
                                                                       for their precious metals

and/or funds and provided Clients with unsigned checks and checks
                                                                  that could not be cashed

due to stop payment orders and/or insufficient funds. (Compl.
                                                              fl 5).
              Mechanics of Scheme

        l7' Defendants andlor Defendants' Agents       communicated directly with Clients who

purchased precious metals from or sold precious metals
                                                       to RMG and represented to Clients that

the precious metals they purchased from RMG would be delivered
                                                               upon receipt         of   an agreed

upon price' Defendants andlor Defendants' Agents also represented
                                                                  to Clients that RMG would
pay them a specific amount of cash for the precious metals
                                                           those Clients sold to RMG.
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  Defendants knew these representations to Clients were false and/or made them with reckless

  disregard for their    truth. (Compl.l2\.

          18. Instead of delivering precious metals and paying Clients as represented, Defendants

  misappropriated both Clients' funds and their precious metals. Clients' funds deposited
                                                                                          into the

  RMG Bank Accounts were used by Defendants for their own purposes including, in part,
                                                                                       the
 payment of airline fees, purchases at Walmart and transfers to accounts
                                                                         controlled by Gless and

 other third parties. (Compl. 1125).

          l9' In order to perpetuate and/or conceal this scheme, Defendants willfully made
 representations in writing, by mail and email, and by phone
                                                             to Clients about the delivery of their
 funds andlor precious metals which were false. Defendants
                                                           knew these representations were
 false and/or made them with reckless disregard for their
                                                                truth. (com pl.ll26).
         20'     Defendants and/or Defendants' Agents provided Clients
                                                                       with account and routing
 numbers for the RMG Bank Accounts in order to ensure
                                                      Clients' funds were properly deposited
 into these accounts and clients did in fact deposit their
                                                           funds into the RMG Bank Accounts.

 (Compl. lt27).




        2l   '   rn July 201 7, Client # I used almost all of the
                                                                  funds from her retirement savinss to

purchase more than 180 one ounce gold
                                      coins from RMG with each coin valued at

approximately $1,400. client #1 deposited
                                          $259,800 into one of the RMG Bank Accounts after

Defendants and/or Defendants' Agents represented
                                                 that RMG would deliver gold coins valued

at the agreed upon purchase      price. Defendants knew this representation to client
                                                                                      #l was false
or made it with reckless disregard for its truth.
                                                  After Client    #l   learned that RMG failed to

deliver all of the gold coins as represented, Client
                                                       #l's   daughter communicated directly with
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  Gless. Gless falsely represented to Client #l's daughter that there was a problem with the

 wholesaler who was supposed to deliver the gold coins. When Client           #l's   daughter repeatedly

 demanded that Gless provide her with the name of a contact at the purported wholesaler,
                                                                                         Gless

 failed to do so. To date, RMG delivered only one gold coin valued at approximately
                                                                                    $1,400.

 (Compl. fl 28).

          22. In September 2017, Client #2 deposited over $55,000 into        one of the RMG Bank

 Accounts after Defendants and/or Defendants' Agents represented that RMG
                                                                          would deliver
 gold and silver coins and gold bars valued at the agreed upon purchase
                                                                        price. Defendants knew
 this representation to client #2 was false or made it with reckless disregard
                                                                               for its truth. In
 September 201 7, RMG delivered only 100 silver coins valued
                                                             at approximately            $I   ,900. After
 RMG failed to deliver any remaining coins or bars, Client #2 communicated
                                                                           with Gless via
 email and by phone during October, November and December
                                                          2017 as well as again in January

 2018, demanding the return of his funds. During this
                                                      time period, Gless continuously falsely

 assured Client #2 that all of his funds would be returned.
                                                            During November 2017, forexample,
Gless provided       client #2 witha delivery tracking number for   a check that was never delivered

as   well as an invalid delivery tracking number. Also during
                                                              November and Decem ber of 2017,
RMG sent an unsigned check and another check that client
                                                         #2 couldnot cash due to a stop
payment order being placed on that check. In
                                             Decembe       r   2017 ,after Client #2,   s attomey
contacted RMG' RMG only wired funds totaling
                                             $5,300 for the benefit of Client            #2. InJanuary
of 2018, Gless provided Client #2 with a tracking
                                                  number for a cashier,s check that was never

delivered. (Compl. It29).

        23   '   ln September 2017 , Client #3 deposited over $49,900 into
                                                                           one of the RMG Bank
Accounts after Defendants and/or Defendants'
                                             Agents represented that RMG would deliver
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  gold and silver coins valued at the agreed upon purchase price. Defendants knew this

 representation to Client #3 was false or made it with reckless disregard for its truth. After RMG

 failed to deliver any gold and silver coins, Client #3 communicated with Gless and demanded

 the retum of his funds. In response, Gless falsely represented that she would return his funds

 and provided Client #3   with invalid delivery tracking numbers and false information regarding

 the status of the return of his funds. RMG sent an unsigned check and another check
                                                                                     that could

 not be cashed by Client #3 due to insufficient funds in that RMG Bank Account.
                                                                                In January

 2018, Client #3 only received small payments from RMG totaling approximately
                                                                              $3,000.
 (Compl.1T30).

          24' In March 2016, Client   #4 deposited over $49,600 into a RMG Bank Account after

 Defendants andlor Defendants' Agents represented that RMG
                                                           would deliver gold and silver

 valued at the agreed upon purchase price. Defendants knew
                                                           these representations to Client #4

 were false and/or acted with reckless disregard for its truth.
                                                                The gold and silver were not

delivered as represented and no funds were returned to client
                                                              #   4. (compl.   ,,lT
                                                                                      3l).
         25' ln November of   2017, Client #5 delivered gold coins to RMG after Defendants

and/or Defendant's Agents represented that Client #5
                                                     would receive approximately $90,000 for

those   coins' Defendants knew this representation to client #5 was
                                                                    false or made it with reckless

disregard for its truth. Gless provided client #5 with shipping
                                                                labels to deliver the gold coins.

Client #5 shipped the coins to RMG and, as per the instructions
                                                                of RMG, sent a form to RMG
authorizing the transfer of funds from RMG to client #5's
                                                          bank account (..Transfer Form,,).

After RMG failed to send any funds after receipt of the coins,
                                                               client #5 contacted Gless. Gless
falsely informed client #5 thatsince client #5 failed
                                                      to send RMG the Transfer Form, no funds
were sent to Client #5's account. RMG then sent
                                                an unsigned check and another check which
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  Client #5 could not cash due to a stop payment ordered placed on that check. In December

 2017, Gless sent Client #5 an email with an attachment that Gless stated was a document she

 received from an RMG Bank showing that $88,625.16 was sent by wire from an RMG Bank

 Account to Client #5. Client #5 never received this wire and no precious metals were returned

 to Client #5. (Compl.n3D.

         26. In January 2018, Client #6 delivered gold and silver coins to RMG after Defendants

 and/or Defendants' Agents represented to Client #6 thatshe would receive                     g,g00 for
                                                                          over           $l

 those metals. Defendants knew this representation to Client #6
                                                                was false or made it with

 reckless disregard for its    truth'   Gless sent Client #6 shipping labels for the precious metals
                                                                                                     and
 Client #6 used those labels to deliver the precious metals to RMG.
                                                                    Client #6 didnot receive
 any funds from RMG nor did RMG return any of the precious
                                                           metals to Client #6. (Compl. fl

 33).

         27   '   rn June of 201 7, Client #7 delivered eight boxes of silver
                                                                              coins to RMG after

Defendants and/or Defondants' Agents represented that
                                                      client #7 would receive approximately
$60'600 for those coins. Defendants knew this representation
                                                             to Clien t #7 wasfalse and/or
acted with reckless disregard for its      truth. Gless provided client #7 withthe shipping labels for
the precious metals and client #7 used those labels
                                                    to deliver the silver coins to RMG. Gless

represented to Client #7 thattwo boxes aruived
                                               damaged and empty and that she           will file   a

claim with usPS for the loss ("USPS Loss claim Form").
                                                       client #7 demanded documentation
from Gless for the purported USPS Loss Claim
                                             Form and Gless failed to provide Client #7 with

any such documentation. RMG also sent a check
                                              in the amou nt of $42,524 thatclient               #7 was
unable to cash due to insufficient funds in that
                                                 RMG Bank Account.          only a small amount of




                                                     l0
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 funds was received by Client #7 from RMG. RMG did not retum any of these silver coins

 and/or any other funds to   Client#7. (Compl. fl 34).
        28. In September 2017, Client #8 delivered26 gold bars to RMG after Gless

represented that Client #8 would receive $34,517.60 for those gold bars. Defendants knew this

representation to Client #8 was false and/or acted with reckless disregard for its truth. Gless

provided Client #8 with the shipping labels for the gold bars and Client #8 used those labels
                                                                                              to

deliver the gold bars to RMG. RMG sent three checks, each in the amount of
                                                                           $34,517.60 and

all dated October 23,2017,which Client #8 could not cash due to: l) the first check being

drawn against an RMG Bank Account that did not have sufficient funds; 2)
                                                                         an RMG Bank,s

refusal to negotiate the second check; and 3) the third check being drawn
                                                                          against an RMG Bank

Account that was closed. RMG did not retum any of the gold bars to Client
                                                                          #g. (Compl. fl 35).
      Controlling Person Liability

       29' During   the Relevant Period, Gless was a member, manager and,45voowner
                                                                                          of
RMG. (Compl. fl 36).

       30' During the Relevant Period,   Gless controlled and was the signatory for the RMG

Bank Accounts where Clients' funds were deposited for the purpose
                                                                  of purchasing and/or

selling precious metals with RMG. (Compl. 3:{).
                                         n




                                              ll
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         31. During the Relevant Period, Gless did not act in good faith or knowingly induced

violations of the Act and Regulations, by making false representations to Clients, by

misappropriating precious metals from Clients and by using the RMG Bank Accounts to

fraudulently receive and misappropriate Clients' funds for her own purposes. (Compl. fl 38).

        Gless    And Others Acted as Agents for RMG

         32. During the Relevant Period, the acts and omissions of Gless and any other

managers, employees, and agents of RMG in offering Clients the opportunity to purchase

precious metals and/or to sell their precious metals to RMG for an agreed upon price were

committed within the scope of their employment, agency or office with RMG. (Compl. flfl 7,

l6).

B.     Conclusions of Law

       Jurisdiction and Venue

         33. This Court has jurisdiction over this action pursuant to Section 6c of the Act,

7 U.S.C. $     l3a-l   (2012), which provides that whenever it shall appear to the Commission that

any person has engaged, is engaging, or is about to engage in any act or practice constituting a

violation of any provision of the Act or any rule, regulation, or order promulgated thereunder,

the Commission may bring an action in the proper district court of the United States against

such person to enjoin such act or practice, or to enforce compliance with the Act, or any rule,

regulation or order thereunder. This Court also has jurisdiction over this case pursuant to 28

U.S.C. $      l33l   (2012) (federal question) and28 U.S.C. $ 1345 (2012) (United States as

Plaintiff).

        34. Venue properly lies with this Court pursuant to 7 U.S.C. $ l3a-l(e), because the

Defendants transact business in this jurisdiction and the acts and practices in violation of the

Act and Regulations occurred, are occurring or are about to occur within this District, among

                                                    t2
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other places. Here, in order to perpetrate this scheme, Clients were directed to and did wire

their funds into a New York RMG Bank Account which was located and maintained in New

York County and Gless had signatory authority over this and other RMG Bank Accounts.

(Compl.    n2\.
       Defendants Committed Fraud in Connection with Contracts of Sale of Precious
       Metals, Commodities in Interstate Commerce, in Violation of 7 U.S.C. S 9(1) and 17
       c.F.R. $ 180.1(a)

        35. 7 U.S.C.      $   9(l)   and 17 C.F.R. g 180.1(a) make it unlawful for any person, in

connection with contracts of sale of any commodity in interstate commerce, including precious

metals, to intentionally or recklessly:       (I   ) use or employ, or attempt to use or employ, any

manipulative device, scheme, or artifice to defraud; (2) make, or attempt to make, any untrue or

misleading statement of a material fact or to omit to state a material fact necessary in order to

make the statements made not untrue or misleading; or (3) engage, or attempt to engage, in any

act, practice, or course of business, which operates or would operate as a fraud or deceit upon

any person. Precious Metals such as gold and silver are commodities sold in interstate

commerce subject to the Commission's anti-fraud authority under Section 6(c)(l )of               th   e Act,7

U.S.C. $   9(l)   and   l7 C.F.R. $ 180.1(a), Regulation 180.1(a). CFTC v. Hunter         Wise

Commodities,      LLC,I   F. Supp. 3d      l3l l,1347-48 (S.D. Fl. 2014)    (referencing precedents under

Section l0(b) and Rule l0b-5 under the Securities Exchange Act to hold that fraud involving

gold and silver was actionable under Section 6(c)(l) and Regulation 180.1(a)\; CFTC v.

McDonnell,287 F. Supp. 3d 213,227 (E.D.N.Y Mar. 6, 2018) (holding that the Commission

has anti-fraud authority under Section 6(c)( I ) and Regulation I 80.1(a) in connection           with spot

transactions that do "not directly involving future trades."

       36. By the conduct described above and in the Complaint, Defendants and Defendants'

Agents, intentionally or recklessly, in connection with contracts of sale of commodities in

                                                         l3
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interstate commerce, namely precious metals involving gold and silver:             (l)   used or employed,

or attempted to use or employ,          a   manipulative device, scheme, or artifice to defraud; (2) made,

or attempted to make, untrue or misleading statements of a material fact or to omit to state a

material fact necessary in order to make the statements made not untrue or misleading; and (3)

engaged, or attempted to engage, in an act, practice, or course of business, which operates or

would operate as a fraud or deceit upon any person, in violation of 7 U.S.C. $ g(lXa) and                17


C.F.R. $ 180.1(a).

         37. Defendants,       as set   fonh in the Complaint, cheated and defrauded, and affempted to

cheat and defraud, Clients, in connection with contracts of sale of gold and silver, commodities

in interstate commerce. Defendants misrepresented that they would sell and deliver precious

metals to Clients and/or purchase precious metals from Clients for an agreed upon price

knowing that these representations to Clients were false and/or made them with reckless

disregard for their   truth.   Instead of delivering the precious metals and/or paying Clients as

represented, Defendants misappropriated their Clients' funds and metals. In order to perpetuate

and/or conceal this scheme, Defendants made false representations to Clients regarding invalid

delivery tracking numbers for their precious metals and/or funds and provided Clients with

unsigned checks and checks that could not be cashed due to stop payment orders and/or

insufficient funds.

         38.   Gless, directly or indirectly, did not act in good faith or knowingly induced, directly or

indirectly, RMG's act or acts in violation of the Act and/or Regulations; therefore, pursuant to Section

13(b) of the Act,7 U.S.C. $ l3c(b) (2012), Gless is liable for RMG's violations          of   7 U.S.C.

$   9(l)(a) andrT C.F.R. g 180.1(a).




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          39.     The foregoing acts, omissions, and failures of Gless and Defendants' Agents occurred

 within the scope of their employment, office, or agency with RMG; therefore, pursuant to Section

 2(a)(l)(B) of the Act,7 U.S.C. $ 2(a)(l)(B) (2012), and Regulationl.2,lT C.F.R. $ 1.2 (2018), RMG

 is liable for Gless' and Defendants' Agents acts, omissions, and failures in violation of 7 U.S.C.


 $   9(lXa) andrT C.F.R. $ 180,1(a).

          40. Unless restrained     and enjoined by this Court, there is a reasonable likelihood that

 Defendants     will   continue to engage in the acts and practices alleged in the Complaint and in

 similar acts and practices in violation of the Act and Regulations.

                                   II.   PERMANENT INJUNCTION

IT IS HEREBY ORDERED THAT:

          4I.     Based upon and in connection with the foregoing conduct, pursuant to Section 6c

of the Act,7 U.S.C. $ l3a-l (2012), Defendants are perrnanently restrained, enjoined and

prohibited from directly or indirectly:

            A.    using or employing, or attempting to use or employ, any manipulative device,

                  scheme, or artifice to defraud;

            B.    making, or attempting to make, any untrue or misleading statement of a material

                  fact or to omit to state a material fact necessarv in order to make the statements

                  made not untrue or misleading; and

            C.    engaging, or attempting to engage, in any act, practice, or course of business,

                  which operates or would operate as a fraud or deceit upon any person;

in violation of Section 6(c)(l) of the Acq7 U.S.C. $ 9(l) (2012), and/or Commission Regulation

180.1(a), 17 C.F.R. $ 180.1(a) (2018).

          42. Defendants are also permanently restrained, enjoined and prohibited from directly

or indirectly:

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         A. Trading on or subject to the rules of any registered entity (as that term is defined

              in Section la(40) of the Act,7 U.S.C. g la(a0) Q0l2));

         B. Entering into any transactions involving "commodity interests" (as that term is

              defined in Regulation 1.3,    l7 C.F.R. $ 1.3 (2018)), fortheirownpersonal      account

              or for any account in which they have a direct or indirect interest;

         C. Having any commodity interests traded on their behalf;

         D. Controlling or directing the trading for or on behalf of any other person or entity,

              whether by power of attorney or otherwise, in any account involving commodity

              interests;

         E. Soliciting, receiving or accepting any funds from any person for the purpose          of
              purchasing or selling any commodity interests;

         F.   Applying for registration or claiming exemption from registration with the

              Commission in any capacity, and engaging in any activity requiring such

              registration or exemption from registration with the Commission, except as

              provided for in Regulation 4.14(a)(9),17 C.F.R. g a.la(a)(9) (201S); and/or

         G. Acting as a principal (as that term is defined in Regulation 3.1(a),      l7 C.F.R.

              $ 3. I (a) (20 I 8), agent or any other   officer or employee of any person (as that

              term is defined in 7 U.S.C. g la(38)), registered, exempted from registration or

              required to be registered with the Commission except as provided for in        l7 C.F.R.

              $   a.la(a)(e).

              III.      RESTITUTION AI\D CIVIL MONETARY PENALTY

      Restitution

      43. Defendants shall pay, jointly and severally, restitution in the amount of Five

Hundred Eighty Four Thousand Five Hundred Forty Nine Dollars and Eighty Four Cents

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($584,549.84) ("Restitution Obligation") to Clients which represents Client funds and Client

precious metals received by Defendants less any Client funds and Client precious metals

returned to Defendants. If the Restitution Obligation is not paid immediately, post-judgment

interest shall accrue on the Restitution Obligation beginning on the date of entry of this Order

and shall be determined by using the Treasury   Bill   rate prevailing on the date of entry of this

Order pursuant to 28 U.S.C. $ 1961 (2012).

        44. For amounts disbursed to Clients as a result of satisfaction of the Restitution

Obligation of Defendant Gless in this matter, RMG shall receive a dollar-for-dollar credit

against its Restitution Obligation.

       45. For amounts disbursed to Clients as a result of satisfaction of the Restitution

Obligation of Defendant RMG in this matter, Gless shall receive a dollar-for-dollar credit

against her Restitution Obligation.

       46. To effect payment of the Restitution Obligation and the distribution of any

restitution payments to Defendants' Clients, the Court appoints the National Futures

Association ("NFA") as Monitor ("Monitor"). The Monitor shall receive restitution payments

from Defendants and make distributions as set forth below. Because the Monitor is acting as an

officer of this Court in performing these services, the NFA shall not be liable for any action or

inaction arising from NFA's appointment as Monitor, other than actions involving fraud.

       47. Defendants shall make Restitution Obligation payments, and any post-judgment

interest payments, under this Order to the Monitor in the name "RMG Restitution Fund" and

shall send such payments by electronic funds transfer, or by U.S. postal money order, certified

check, bank cashier's check, or bank money order, to the Office of Administration, National

Futures Association, 300 South Riverside Plaza, Suite 1800, Chicago, Illinois 60606 under



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cover letter that identifies the paying Defendants and the name and docket number of this

proceeding. Defendants shall simultaneously transmit copies of the cover letter and the form of

payment to the Chief Financial Officer, Commodity Futures Trading Commission, Three

Lafayette Centre, I I 55 2l st Street, NW, Washington, D.C. 20581 .

          48. The Monitor shall    oversee the Restitution Obligation of Defendants and shall have

the discretion to determine the manner of distribution of such funds in an equitable fashion to

Defendants' Clients identified by the Commission or may defer distribution until such time         as

the Monitor deems appropriate. In the event that the amount of Restitution Obligation

payments to the Monitor are of a de minimis nature such that the Monitor determines that the

administrative cost of making a distribution to eligible Clients is impractical, the Monitor may,

in its discretion, treat such restitution payments as civil monetary penalty payments, which the

Monitor shall forward to the Commission following the instructions for civil monetary penalty

payments set forth in Part B below.

         49. Defendants shall cooperate with the Monitor     as appropriate to provide such

information as the Monitor deems necessary and appropriate to identify Defendants' Clients to

whom the Monitor, in its sole discretion, may determine to include in any plan for distribution

of any Restitution Obligation payments. Defendants shall execute any documents necessary to

release funds that they have in any repository, bank, investment or other financial institution,

wherever located, in order to make partial or total payment toward the Restitution Obligation.

         50. The Monitor shall provide the Commission at the beginning of each calendar year

with   a report   detailing the disbursement of funds to Defendants' Clients during the previous

year. The Monitor shall transmit this report under a cover letter that identifies the name and




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docket number of this proceeding to the Chief Financial Officer, Commodity Futures Trading

Commission, Three Lafayette Centre, I155 2lst Street, NW, Washington, D.C. 20581.

        5   1. The amounts payable to each Client shall not limit the ability of any Client from

proving that a greater amount is owed from Defendants or any other person or entity, and

nothing herein shall be construed in any way to limit or abridge the rights of any Client that

exist under state or common law.

        52. Pursuant to Rule 7l of the Federal Rules of Civil Procedure, each Client of

Defendants who suffered a loss is explicitly made an intended third-party beneficiary of this

Order and may seek to enforce obedience of this Order to obtain satisfaction of any portion      of

the restitution that has not been paid by Defendants to ensure continued compliance with any

provision of this Order and to hold Defendants in contempt for any violations of any provision

of this Order.

        53. To the extent that any funds accrue to the U.S. Treasury for satisfaction of

Defendants' Restitution Obligation, such funds shall be transferred to the Monitor for

disbursement in accordance with the procedures set forth above.

B.    Civil Monetary Penalty

       54. Defendants shall pay, jointly and severally,    a   civil monetary penalty in the amount

of One Million Seven Hundred Fifty Three Thousand and Six Hundred and Forty Seven Dollars

51,753,647.00 ("CMP Obligation"), which is equivalent to approximately triple the net

monetary gain to Defendants of $584,549 from the violations-i.e., three times the amount        of
Client funds and/or value of precious metals obtained by Defendants from Clients that

Defendants used for their own benefit or for the benefit of the fraud minus the funds returned by

Gless and RMG to Clients and precious metals retumed by Gless and RMG to Clients.           If the



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 CMP Obligation for each Defendant is not paid immediately, then post-judgment interest shall

 accrue on the CMP Obligation for each Defendant beginning on the date of entry of this Order

 and shall be determined by using the Treasury     Bill rate prevailing   on the date of entry of this

 Order pursuant to 28 U.S.C. $    l96l   (2012).

          55. Defendants shall   each pay their CMP Obligation and any post-judgment interest, by

 electronic funds transfer, U.S. postal money order, certified check, bank cashier's check, or

 bank money order. If payment is to be made other than by electronic funds transfer, then the

 payment shall be made payable to the Commodity Futures Trading Commission and sent to the

 address below:

                MMAC/ESCIAMK326
                Commodity Futures Trading Commission
                Division of Enforcement
                6500 S. MacArthur Blvd.
                HQ Room l8l
                Oklahoma City, OK 73169
                (405) 954-6569 office
                (40s) 954-1620 fax
                9-AMC-AR-CFTC @faa. gov

If payment by electronic funds transfer is chosen, Defendants shall contact Marie Thorne or her

successor at the address above to receive payment instructions and shall       fully comply with those

instructions. Each Defendant shall accompany payment of their CMP Obligation with a cover

letter that identifies Defendant and the name and docket number of this proceeding. Each

Defendant shall simultaneously transmit copies of the cover letter and the form of payment to the

Chief Financial Officer, Commodity Futures Trading Commission, Three Lafayette Centre, I155

2lst   Street, NW, Washington, D.C.20581.




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C.      Provisions Related to Monetary Sanctions

         56. Partial Satisfaction: Acceptance by the Commission/CFTC or the Monitor of any

partial payment of Defendants' Restitution Obligation or CMP Obligation shall not be deemed             a


waiver of their obligation to make further payments pursuant to this Order, or a waiver of the

Commission/CFTC's right to seek to compel payment of any remaining balance.

                                 IV.    Miscellaneous Provisions

          57. Notice: All notices required to be given by any provision in this Order shall be sent

certified mail, retum receipt requested, as follows:

Notice to Commission:

         Manal M. Sultan
         Deputy Director
         Division of Enforcement
         Commodity Futures Trading Commission
         140 Broadway, l9th Floor
         New York, NY 10005


Notice to NFA:

         Daniel Driscoll, Executive Vice President, COO
         National Futures Association
         300 S. Riverside Plaza, Suite 1800
         Chicago, lL 60606-3447

All   such notices to the Commission or the NFA shall reference the name and docket number         of

this action.

          58. Change of Address/Phone: Until such time     as Defendants satisfy in   full their

 Restitution Obligation and each of their CMP Obligation as set forth in this Order, Defendants

 shall provide written notice to the Commission by certified mail of any change to their

 telephone number and mailing address within ten calendar days of the change.




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           59. Invalidation: If any provision of this Order or if the application of any provision or

 circumstance is held invalid, then the remainder of this Order and the application of the

 provision to any other person or circumstance shall not be affected by the holding.

           60. Continuing Jurisdiction of this Court: This Court shall retain jurisdiction of this

 action to ensure compliance with this Order and for all other purposes related to this action,

 including any motion by Defendants to modify or for relief from the terms of this Order.

           61. Injunctive and Equitable Relief Provisions: The injunctive and equitable relief

 provisions of this Order shall be binding upon Defendants, upon any person under the authority

 or control of any of the Defendants, and upon any person who receives actual notice of this Order,

 by personal service, e-mail, facsimile or otherwise insofar as he or she is acting in active concert

 or participation with Defendants.

          There being no just reason for delay, the Clerk of the Court is hereby ordered to enter this

Order for Final Judgment by Default, Permanent Injunction, Civil Monetary Penalty, and Other

Statutory and Equitable Relief Against Defendants Gless and RMG forthwith and without further

notice.




    IT IS SO ORDERED          on   this 24th day of        Jantaw 2019




          The Clerk of Court is directed to close this case and terminate Docket No. 29.




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